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 1   LEWIS & LLEWELLYN LLP
     Evangeline A.Z. Burbidge (CA Bar No. 266966)
 2   eburbidge@lewisllewellyn.com
     John Frost (CA Bar No. 302134)
 3   jfrost@lewisllewellyn.com
     601 Montgomery Street, Suite 2000
 4   San Francisco, California 94111
     Telephone: (415) 800-0590
 5
     Attorneys for Non-Party
 6   FOUNDERS FUND, LLC

 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9

10
     STACY CHANG,                                   Case No. 3:22-cv-02010-AMO
11
                  Plaintiffs,                       FOUNDERS FUND, LLC’S STATEMENT
12                                                  IN SUPPORT OF SEALING THE
           v.                                       INFORMATION THAT IS THE SUBJECT
13                                                  OF PLAINTIFF’S ADMINISTRATIVE
     CARLOS CASHMAN, ARROWSIDE                      MOTION TO CONSIDER WHETHER
14   CAPITAL, LLC, ARROWSIDE FUND GP,               OTHER PARTIES’ MATERIALS SHOULD
     LLC, ARROWSIDE VENTURES, LLC, and              BE SEALED REGARDING PLAINTIFF’S
15   CASHMAN FAMILY INVESTMENTS II LLC,             OPPOSITION TO DEFENDANTS’
                                                    DAUBERT MOTION
16                Defendants.

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                   FOUNDERS FUND’S STATEMENT IN SUPPORT OF SEALING
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 1                                            INTRODUCTION

 2          Founders Fund, LLC (“Founders Fund”) submits this statement in support of Plaintiff’s

 3   Administrative Motion to Consider Whether Other Parties’ Materials Should Be Sealed (the

 4   “Administrative Motion,” Dkt. No. 167). 1 Accordingly, Founders Fund requests that the Court seal

 5   the parts of Plaintiff’s Opposition to Defendants’ Daubert Motion (the “Daubert Opposition,” Dkt.

 6   No. 166) and the Exhibits to the Declaration of Declaration of Ashley Zitrin filed in support of the

 7   Daubert Opposition (the “Exhibits,” Dkt. Nos. 163-1–163-4, 163-6, 163-8–163-9) identified in the

 8   Administrative Motion.

 9          In short, the Daubert Opposition seeks to establish that the opinion and expert report of

10   Plaintiff’s expert (Mr. Gatrell) should not be excluded. Mr. Gatrell extensively analyzed Founders

11   Fund’s confidential business information and, in his expert report, discusses that analysis of

12   confidential business information at length. Because it is a response to Defendants’ Daubert

13   Motion, Plaintiff’s Daubert Opposition necessarily includes discussion of and citation to the same

14   kinds of confidential information, including:

15          •       Estimated performance metrics and calculations that are based on Founders
                    Fund’s confidential financial information pertaining to the historical
16                  performance of its venture funds.
17          •       The confidential testimony of Founders Fund’s partner and Chief Operating
                    Officer Lauren Gross regarding confidential financial information pertaining to
18                  Founders Fund’s venture funds.
19          •       Confidential financial and business information, including the contents of
                    confidential business records, pertaining to and conveying key characteristics
20                  of Founders Fund’s venture funds.
21          •       Its confidential business information pertaining to its employees and employee
                    compensation policies, as well as confidential matters pertaining to individual
22                  personnel.
23   Further, the Exhibits include Mr. Gatrell’s expert report and rebuttal report, as well as two other

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25     To the extent that the Court is disinclined to grant Plaintiff’s Motion to Remove Incorrect Papers
     from Court Docket and Replace with Proper Filings, Docket Number 165, Founders Fund requests
26   that this Statement also apply to Plaintiff’s Administrative Motion to Consider Whether Other
     Parties’ Materials Should Be Sealed, Docket Number 164, as the information that Founders Fund
27   requests to seal constitutes the same kinds of information for that administrative motion and the
28   Administrative Motion discussed herein. Founders Fund also notes that the Exhibits relate to both
     administrative motions.
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 1   expert rebuttal reports, all of which include their analysis of that confidentially produced business

 2   information. See Exs. B, F, H, I. The Exhibits also include the deposition testimony of Mr. Gatrell,

 3   who discusses his expert opinion, and Ms. Lauren Gross, the partner and Chief Operating Officer of

 4   Founders Fund, who provided confidential testimony regarding Founders Fund’s business

 5   operations. See Exs. A, D. Finally, the Exhibits include Founders Fund’s quarterly reports, highly

 6   confidential documents that provide internal Founders Fund information, and that includes

 7   watermarks noting that the information is Confidential and Trade Secret. See Ex. C. All this

 8   information constitutes or otherwise reveals closely held, confidential business information that

 9   Founders Fund produced in this litigation. Accordingly, Founders Fund requests that this

10   information be sealed because it meets the standards set forth under Foltz v. State Farm Mutual

11   Automobile Insurance Co., 331 F.3d 1122, (9th Cir. 2003) and Civil Local Rule 79-5(c) and (f).

12                                             BACKGROUND

13          Founders Fund is a leading venture capital company. Through various funds, Founders Fund

14   raises private capital and invests that capital in private companies, usually startup technology

15   companies. Founders Fund also makes investments in particular companies through special purpose

16   vehicles, or “SPVs.”

17          Lauren Gross is a partner at and the Chief Operating Officer of Founders Fund. See Decl. of

18   Lauren Gross (“Gross Decl.”) at ¶ 1. Neither Founders Fund nor Ms. Gross are parties to the

19   underlying lawsuit.

20          Since this case’s inception, Founders Fund and Ms. Gross have been served with, combined,

21   five subpoenas seeking documents and testimony, two from Plaintiff and three from Defendants.

22   Through those subpoenas, the Parties sought documents and information pertaining to Founders

23   Fund’s nonpublic business operations, including confidential, closely held, and sensitive financial

24   and investment information. After extensive meet and confer efforts with the Parties to ensure its

25   confidential information would be protected, including agreeing on a two-tier protective order,

26   Founders Fund produced documents and Ms. Gross provided testimony, both on her behalf and as

27   Founders Fund’s corporate representative. Founders Fund and Ms. Gross designated various

28   documents and testimony as confidential pursuant the Court-entered protective orders. To date, no
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 1   Party has challenged Founders Fund’s confidentiality designations.

 2          Through this statement, Founders Fund seeks to protect the portions to be filed under seal set

 3   forth in the Administrative Motion. See Dkt. No. 167 at 2 (Administrative Motion); Dkt. No. 167-9

 4   at 2–3 (Proposed Order). This redacted information constitutes internal, confidential financial and

 5   investment and employee compensation information that should not be publicly disclosed.

 6                                               ARGUMENT

 7          In the Ninth Circuit, courts “start with a strong presumption in favor of access to court

 8   records.” Foltz, 331 F.3d at 1135; see also Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172,

 9   1178 (9th Cir. 2006). However, the common law right of access to court records “can be overridden

10   given sufficiently compelling reasons for doing so.” Foltz, 331 F.3d at 1135. To determine whether

11   a judicial record should be shielded from public access, a district court considers “all relevant

12   factors, including . . . the public interest in understanding the judicial process and whether disclosure

13   of the material could result in improper use of the material for scandalous or libelous purposes or

14   infringement upon trade secrets.” Id.; see also Civil L.R. 79-5(c)(1). The district court then

15   determines whether to seal a judicial record based on a compelling reason supported by an

16   articulable factual basis. Foltz, 331 F.3d at 1135; Civil L.R. 79-5(c)(1). This “compelling reasons”

17   standard applies to dispositive motions, and it has been applied to a Daubert motion that is

18   connected to a summary judgment motion and that is otherwise considered “critical” to a case’s

19   outcome. 2 See In re Midland Nat. Life Ins. Co. Annuity Sales Pracs. Litig., 686 F.3d 1115, 1119–20

20   (9th Cir. 2012). The Court should apply this standard to the redacted parts of the Daubert

21   Opposition and its Exhibits and find that the information should be sealed.

22          Founders Fund has a legitimate private interest in protecting the redacted information

23   from public disclosure because the information constitutes trade secrets, confidential business

24   information, private employee information, and employee policies that should be protected from

25   disclosure. See Civil L.R. 79-5(c)(i). “In general compelling reasons exist to seal materials that are

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      Founders Fund is not aware of the importance that the parties to this case ascribe to the Motion but
28   assumes that this standard would apply in light of the Ninth Circuit’s holding in Midland. See
     Midland, 686 F.3d at 1119–20.
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 1   ‘sources of business information that might harm a litigant’s competitive standing.’” King v. Nat’l

 2   Gen. Ins. Co., No. 15-CV-00313-DMR, 2024 WL 405045, at *2 (N.D. Cal. Feb. 2, 2024) (quoting

 3   Ctr. For Auto Safety v. Chrysler Group, LLC, 447 F.3d 1092, 1097 (9th Cir. 2016)). For the

 4   purposes of determining whether to seal a judicial record, “[a] trade secret may consist of any

 5   formula, pattern, device or compilation of information which is used in one’s business, and which

 6   gives him an opportunity to obtain an advantage over competitors who do not know or use it.” In re

 7   Elec. Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (internal quotation marks omitted).

 8   Similarly, “[c]ourts have found that ‘confidential business information’ in the form of ‘license

 9   agreements, financial terms, details of confidential licensing negotiations, and business strategies’

10   satisfies the ‘compelling reasons’ standard.” Baird v. BlackRock Institutional Tr. Co., N.A., 403 F.

11   Supp. 3d 765, 792 (N.D. Cal. 2019). Courts further recognize that employees have an informational

12   privacy interest in matters related to their employment that is protected by the California

13   Constitution. Doyle v. Galderma, Inc., No. 19-CV-05678 (TSH), 2021 WL 4926999, at *1 (N.D.

14   Cal. Apr. 27, 2021) (citing Board of Registered Nursing v. Sup. Ct., 59 Cal. App. 5th 1011, 1039,

15   review denied April 21, 2021).

16          Here, as in Baird, the information that Founders Fund seeks to seal, contains confidential

17   business and financial information relating to Founders Fund’s operations, which alone is a

18   sufficiently compelling reason for the Court to seal it. See Baird, 403 F. Supp. 3d at 792 (“the

19   information contains ‘confidential business and financial information relating to the operations of

20   BlackRock,’ constituting a sufficiently compelling reason to seal.”). The Daubert Opposition

21   focuses on an expert’s opinion and analysis of how closely held, confidential business information

22   maintained by Founders Fund relates to the damages alleged in this case. As a result, the redacted

23   information necessarily consists of business information—including trade secrets, confidential

24   business information, private employee information, and confidential employee policies—the

25   disclosure of which would harm Founders Fund’s competitive standing. See Decl. of L. Gross

26   (“Gross Decl.”) ¶¶ 3–6. For example, Exhibit B filed in support of the Motion includes a chart of

27   weighted average gross multipliers that calculate individualized performance for each of Founders

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 1   Fund’s funds from inception. See Dkt. No. 163-2 at 24. 3 These calculations, which are clearly

 2   based on Founders Fund’s closely held, internal financial information, should not be publicly

 3   disclosed as Founders Fund otherwise protects this information. See Gross Decl. ¶ 3–6; see also,

 4   e.g., In re Elec. Arts, 298 F. App’x at 569 (holding that “pricing terms, royalty rates, and guaranteed

 5   minimum payment terms” in a licensing agreement fell within the definition of a trade secret); Ebay

 6   Inc. v. Boch, 2022 WL 1131720, at *2 (N.D. Cal. March. 21, 2022) (granting an administrative

 7   motion to seal “confidential internal financial and business information” that could “harm a party’s

 8   competitive standing.”); Doyle, 2021 WL 4926999, at *1 (holding that “[t]he constitutionally-

 9   protected privacy interests of [an] employee present compelling reasons to justify a sealing order.”).

10   In fact, Plaintiff has appended some of that highly confidential information to the Daubert

11   Opposition as Exhibit C, which is a Founders Fund-produced document reflecting its confidential

12   and trade secret information.

13           Founders Fund will suffer injury if sealing is denied. See Civil L.R. 79-5(c)(ii). As Ms.

14   Gross explained:

15                  If this information were released publicly, Founders Fund’s competitors
                    could gain unfair insight into Founders Fund’s market position and an
16                  unfair competitive advantage over Founders Fund, which could be
                    detrimental to Founders Fund. Furthermore, public disclosure of
17                  confidential, uncontextualized information regarding Founders Fund’s
                    various funds, including the potential values for carried interest in
18                  certain nascent Founders Fund funds (some of which had no
                    investments at the time the information was produced in this case) as
19                  well as other SPVs could affect those funds’ and Founders Fund’s
                    internal and external operations. Likewise, public disclosure of
20                  confidential employee compensation information would impact the
                    privacy of Founders Fund’s employees, and it would also affect
21                  Founders Fund’s meritocratic approach to employee compensation in
                    the future.
22
     Gross Decl. ¶ 6. This injury is sufficient to warrant sealing. See See Baird, 403 F. Supp. 3d at 792;
23
     see also Ebay, 2022 WL 1131720, at *2; Doyle, 2021 WL 4926999, at *1.
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             A less restrictive alternative to sealing is not sufficient to protect Founders Fund. See
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     Civil L.R. 79-5(c)(iii). Throughout this case, Founders Fund has sought to comply with its
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     discovery obligations, and it has only made narrowly tailored requests to protect its most sensitive
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         Pages cited herein refer to the ECF page number.
                                                        6
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 1   confidentially maintained information. Now, because the Daubert Opposition is focused on an

 2   expert’s extensive analysis of Founders Fund’s closely held, confidential business information,

 3   Founders Fund has no choice but to ask the Court to seal all the information that is subject to the

 4   Administrative Motion. Disclosing the redacted information to the public would harm Founders

 5   Fund’s competitive standing. In this instance, there is not a less restrictive option.

 6          Further, Founders Fund is a nonparty to this case. It has no interest in the outcome of this

 7   litigation, and this evidence is not being presented in furtherance of any Founders Fund claim or

 8   defense. As a result, Founders Fund’s interest in maintaining the confidentiality of its business

 9   information should be accorded more weight, and the public disclosure of the information through

10   this litigation would be particularly inequitable.

11                                               CONCLUSION

12          For the foregoing reasons, Founders Fund respectfully requests that the Court find that there

13   are compelling reasons to seal the information that is the identified in Defendants’ Administrative

14   Motion and Proposed Order.

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16
                                                    Respectfully submitted,
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     Dated: October 11, 2024                        LEWIS & LLEWELLYN LLP
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19                                                  By:
                                                           Evangeline A.Z. Burbidge
20                                                         John F. Frost
                                                           Attorneys for Nonparty
21                                                         FOUNDERS FUND, LLC
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